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                                                                 ELECTRONICALLY FILED

                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION OF LEXINGTON

IN RE CLASSICSTAR MARE LEASE                    )              MDL No. 1877
LITIGATION                                      )
                                                )               Master File:
                                                )   Civil Action No. 5:07-CV-353-JMH
                                                )
                                                )
and                                             )
                                                )
WEST HILLS FARMS, LLC, ET AL.,                  )   Case Action No. 5:06-CV-243-JMH
SKINNER, ET AL.,                                )   Case Action No. 5:09-CV-419-JMH


                        DEFENDANTS’ AMENDED WITNESS LIST

       Defendants Tony P. Ferguson, Thomas E. Robinson, ClassicStar Farms, Inc., GeoStar

Corporation, GeoStar Financial Services Corporation and First Source Wyoming, Inc. identify

the following witnesses for trial, either through testimony presented at trial or testimony

previously submitted by deposition as designated below:

       1.      Paul Bangerter –Mr. Bangerter will testify regarding the mare lease program.

       2.      William Bolles – Mr. Bolles will testify regarding GeoStar Corporation, its

subsidiaries and records of the same.

       3.      Lee Brower –Mr. Brower will testify regarding the mare lease program.

       4.      Susan Bunning –Ms. Bunning will testify regarding the history of the mare lease

program.

       5.      Byron Dyson – Mr. Dyson will testify regarding ClassicStar, LLC, GeoStar

Corporation, First Source Wyoming, Inc., and Gastar Exploration, Ltd., including the operations

of these companies and the interactions, relationship and dealings between the same.

       6.      Kathryn D’Ann Eakin –Ms. Eakin will testify regarding the mare lease program.

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       7.        Tony Ferguson – Mr. Ferguson may testify regarding the operations of

ClassicStar, LLC and GeoStar Corporation.

       8.        Jon Freston –Mr. Freston will testify regarding the mare lease program and the

actions of the Plaintiffs regarding the same.

       9.        Michael Gerlich – Mr. Gerlich will testify regarding Gastar Exploration, Ltd., its

operations, and its relationships and dealings with GeoStar Corporation and ClassicStar, LLC.

       10.       Danny Hendrix –Mr. Hendrix will testify regarding the relationship and dealings

between Karren, Hendrix, Stagg, Allen & Company and National Equine Lending Company and

ClassicStar, LLC.

       11.       George Hofmeister –Mr. Hofmeister will testify regarding the history of the mare

lease program.

       12.       Justin Jones –Mr. Jones will testify regarding the tax opinions provided by Hanna

Strader, P.C.

       13.       George Keeney – Mr. Keeney will testify about GeoStar Corporation’s actions to

make funding available to ClassicStar, LLC, the dilution of GeoStar Corporation’s interest in

Gastar Exploration, Ltd, and the lack of consideration returned to GeoStar Corporation.

       14.       Robert Keys –Mr. Keys will testify regarding Privacy Consulting Group and its

relationship with ClassicStar, LLC, GeoStar Corporation and the plaintiffs.

       15.       Mike King –Mr. King will testify regarding the operations of ClassicStar, LLC.

       16.       John Knowles –Mr. Knowles will testify regarding the operations of Buffalo

Ranch, LLC.

       17.       Frederick Lambert – Mr. Lambert may testify regarding the operations of GeoStar

Corporation and its subsidiaries and affiliated companies.



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       18.      Stephen Lovegren –Mr. Lovegren will testify regarding the operations and

finances of Walter Remmers, Debra Remmers, Dennis Sackhoff, and Mary Sackhoff, the

operations and finances of their respective companies, and their tax deductions for the relevant

time period.

       19.      James D. Lyon – Mr. Lyon may testify regarding all claims asserted by him as

Trustee of ClassicStar, LLC, including his actions individually and through counsel on behalf of

the estate of ClassicStar, LLC.

       20.      Matt Lyons – Mr. Lyons may testify regarding the operations of ClassicStar,

LLC.

       21.      Mindi Morishita –Ms. Morishita will testify regarding the operations of

ClassicStar, LLC, and certain affiliated entities and partnerships.

       22.      Bryan Nelson –Mr. Nelson will testify regarding his participation in the mare

lease program and subsequent dealings with interested parties.

       23.      Toby Norton –Mr. Norton will testify regarding the operations of ClassicStar,

LLC, and certain affiliated entities and partnerships.

       24.      David Plummer –Mr. Plummer may testify regarding the development of the mare

lease program, and the operations of ClassicStar, LLC and Buffalo Ranch, LLC, and related and

affiliated companies and partnerships.

       25.      Scott Plummer –Mr. Plummer will testify regarding the operations of Buffalo

Ranch, LLC.

       26.      Shane Plummer –Mr. Plummer will testify regarding the operations of

ClassicStar, LLC and Buffalo Ranch, LLC, and related and affiliated companies and

partnerships.



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        27.     Spencer Plummer –Mr. Plummer may testify regarding the operations of

ClassicStar, LLC and Buffalo Ranch, LLC, and related and affiliated companies and

partnerships.

        28.     Russell Porter –Mr. Porter will testify regarding the operations of Gastar

Exploration, Ltd., and the activities of certain affiliated entities.

        29.     Patrick Riley –Mr. Riley will testify about the financial and tax-related activities

of Bryan and Laurel Nelson.

        30.     Thom Robinson - Mr. Robinson may testify regarding the operations of GeoStar

Corporation and its subsidiaries and affiliated companies.

        31.     Boyce Sanderson – Mr. Sanderson may testify regarding the operations of

ClassicStar, LLC and the activities of the plaintiffs.

        32.     Sulaksh Shah – Mr. Shah will testify regarding the opinions he has provided in

this case.

        33.     Carol Shrives –Ms. Shrives will testify regarding the operations of ClassicStar,

LLC and Buffalo Ranch, LLC.

        34.     Gary Thomson –Mr. Thomson will testify regarding his dealings with David

Plummer, Spencer Plummer and Terry Green, and the operations of National Equine Lending

Company.

        35.     Chad Vanderlinden –Mr. Vanderlinden will testify regarding the activities of

David Plummer and Spencer Plummer, and the operations of ClassicStar, LLC and affiliated

entities and partnerships.

        36.     All current and former agents or representatives of any Plaintiffs who may know

of information relevant to this matter not included above.



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       37.     Any witnesses named by Plaintiffs in this matter, including Plaintiffs’

designations of deposition testimony to the extent Defendants do not object to such designations.

       38.     Any expert witness identified by any party to this action not included above.

       39.     Defendants reserve the right to add further witnesses as may be necessary to rebut

the testimony of Plaintiffs’ witnesses.




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                        DESIGNATIONS OF PAUL BANGERTER

      13/16 – 14/12

      14/16 – 15/19

      22/24 – 23/12

      36/2 – 36/12

      36/15 – 37/7

      41/22 – 44/2

      45/15 – 46/22

      50/10 – 50/25

      52/20 -53/25

      54/9 – 55/2

      55/7 – 56/5

      62/25 – 63/19

      63/22 -64/4

      66/10 – 67/5

      87/12 -88/10

      118/17 – 119/6

      153/7 – 153/20

      155/10 – 155/22




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                     DESIGNATIONS OF WILLIAM BOLLES (5/13/2009)

      60/2 – 60/4

      60/10 – 60/23

      61/23 – 62/7

      67/8 – 67/11

      68/5 – 68/16

      69/14 – 69/20

      71/1 – 71/3

      89/19 – 89/24

      91/11 – 92/3

      92/6 – 92/8

      92/10 – 92/14

      92/22 – 93/11

      107/19 – 108/13

      131/14 – 132/3

      173/18 – 173/22

      175/20 – 175/23

      176/8 – 177/2

      180/3 – 180/9

      180/19 – 181/5

      191/12 – 192/1

      192/3 – 192/6

      192/9 – 192/12

      227/17 – 227/21

      227/23 – 228/2


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              DESIGNATIONS OF WILLIAM BOLLES (5/13/2009), CONT.

      289/11 – 290/1

      318/3 – 318/24

      320/2 – 320/7

      322/16 – 322/21

      330/1 – 330/12




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                    DESIGNATIONS OF WILLIAM BOLLES (9/9-10/2008)

      27/4 – 27/23

      38/23 – 38/25

      39/8 – 40/8

      44/5 – 44/22

      59/10 – 59/11

      59/21 – 59/23

      61/2 – 62/8

      62/16 – 64/16

      65/5 – 65/17

      69/8 – 70/9

      70/14 – 71/1

      75/6 – 76/17

      80/8 – 81/1

      85/10 – 86/18

      91/18 – 91/22

      92/7 – 94/19

      97/10 – 98/23

      104/3 – 105/2

      105/19 – 107/13

      107/21 – 109/7

      115/4 – 115/8

      117/9 – 118/2

      127/24 – 128/23

      147/3 – 148/6


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              DESIGNATIONS OF WILLIAM BOLLES (9/9-10/2008), CONT.

       164/16 – 164/19

       165/2 – 165/15

       172/16 – 174/6

       175/3 – 175/12

       181/19 – 182/3

       191/12 – 191/16

       193/3 – 194/2

       210/4 – 210/9

       224/5 – 225/1

       226/19 – 227/1

       231/25 – 233/6

       272/23 – 273/17

       278/8 – 278/16

       281/2 – 281/17

       291/1 – 291/20

       293/1 – 294/25

       295/3 – 295/7

       310/11 – 311/15

       379/24 – 380/15

       423/14 – 423/18

       429/16 – 430/18

       436/1 – 437/3

       494/17 – 496/4

       500/20 – 500/22


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                         DESIGNATIONS OF LEE BROWER

       40/25 – 41/9

       41/25 – 42/6

       46/11 – 46/18

       64/12 – 64/17

       66/1 – 66/4

       73/3 – 74/17

       81/1 – 82/9

       86/14 – 86/23

       93/10 – 93/23

       112/5 – 112/16

       214/3 – 214/10

       233/12 – 234/7

       235/22 – 236/6

       236/23 – 238/11

       273/11 – 274/7




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                         DESIGNATIONS OF BYRON DYSON

       14/10 – 14/12

       29/10 – 29/21

       36/1 – 36/16

       40/1 – 41/13

       105/2 – 105/7

       111/20 – 112/9

       392/10 – 392/18

       395/13 – 395/15

       395/19 – 395/21

       420/7 – 420/15

       422/11 – 422/13

       422/17 – 423/18

       425/18 – 425/25

       426/16 – 426/17

       428/5 – 428/17




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                       DESIGNATIONS FOR KATHRYN D’ANN EAKIN

       7/4 – 7/7

       9/5 – 12/1

       14/12 – 17/1

       21/7 – 21/21

       53/21 – 57/19

       81/9 – 82/17




                                        13
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                     DESIGNATIONS FOR TONY FERGUSON (6/23/2006)

       7/3 – 7/5

       11/4 – 11/7

       11/16 – 11/21

       12/12 – 12/15

       13/5 – 13/13

       15/23 – 16/5

       17/16 – 17/21

       20/4 – 20/22

       28/11 – 28/21

       29/8 – 29/18

       31/3 – 31/25

       32/11 – 32/12

       32/17 – 33/5

       43/17 – 44/5

       54/7 – 54/22

       60/25 – 61/8

       61/11 – 61/17

       68/8 – 68/12

       71/4 – 71/17

       71/21 – 72/3

       98/11 – 98/23

       98/25- 99/9

       118/25 – 120/16

       130/2 – 130/11


                                         14
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              DESIGNATIONS FOR TONY FERGUSON (6/23/2006), CONT.

       136/19 – 137/9

       154/20 – 155/6




                                       15
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                     DESIGNATIONS FOR TONY FERGUSON (5/30/2007)

       15/6 – 15/7

       15/9 – 15/13

       55/5 – 55/15

       58/14 – 58/23

       59/20 – 60/2

       61/16 – 62/8

       63/18 – 64/9

       65/10 – 65/15

       67/2 – 67/6

       70/10 – 70/15




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                        DESIGNATIONS FOR JON FRESTON

       27/10 – 27/14

       29/17 – 30/9

       31/14 – 32/2

       34/15 – 35/17

       35/22 – 35/25

       39/7 – 41/4

       42/17 – 44/9

       46/6 – 46/11

       47/13 – 48/4

       50/1 – 50/6

       50/25 – 51/15

       52/10 – 52/13

       52/19 – 52/25

       53/16 – 54/6

       54/15 – 54/19

       54/24 – 55/5

       55/21 – 56/17

       56/25 – 57/15

       58/7 – 58/9

       62/12 – 63/6

       63/10 – 63/22

       69/6 – 69/12

       73/3 – 73/5

       74/3 – 75/1


                                       17
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                         DESIGNATIONS FOR JON FRESTON, CONT.

       75/11 – 77/1

       77/19 – 79/12

       79/24 – 80/4

       88/2 – 88/14

       90/13 – 91/6

       92/2 – 94/24

       96/10 – 96/23

       97/18 – 98/20

       102/7 – 103/8

       121/21 – 122/10

       133/22 – 134/11

       135/22 – 137/3

       155/5 – 156/16

       170/6 – 170/21

       175/25 – 177/5




                                         18
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                         DESIGNATIONS FOR MICHAEL GERLICH

       9/15 – 9/24

       11/16 – 12/12

       12/17 – 13/5

       27/11 – 27/19

       56/2 – 56/7

       58/16 – 58/21

       58/23 – 59/22

       60/2 – 60/4

       79/2 – 79/9

       84/5 – 84/6

       103/2 – 103/12

       104/25 – 105/14

       128/22 – 129/14

       148/2 – 148/3

       148/11 – 148/17




                                        19
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                                    13591


                         DESIGNATIONS FOR DANNY HENDRIX

       10/17 -11/15

       37/16 – 46/24

       50/18 – 52/1

       59/24 – 63/19

       66/6 – 69/20

       74/15 – 75/19

       89/16 – 90/12

       104/7 – 104/25

       108/12- 109/9

       117/8 – 124/20

       131/15 – 138/11

       139/25 – 140/18

       140/21 – 141/2

       141/9 – 142/4

       160/25 – 161/10

       169/2 – 172/2

       177/23 – 179/14

       185/25 – 186/1

       186/6 – 186/20

       187/24 – 188/8

       188/14 – 189/2

       190/3 – 190/10




                                       20
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                       DESIGNATIONS FOR GEORGE HOFMEISTER

       7/13 – 7/15

       10/19 – 98/21




                                       21
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                        DESIGNATIONS OF JUSTIN JONES

       12/2 – 12/9

       13/25 – 14/2

       19/24 – 20/16




                                       22
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                         DESIGNATIONS FOR ROBERT KEYS

       29/6 – 30/5

       30/20 – 31/3

       31/8 – 32/5

       40/23 – 43/8

       46/4 – 46/22

       51/24 – 52/12

       56/23 – 56/25

       55/3 – 55/6

       55/21 – 55/22

       57/1 – 57/14

       59/12 – 60/5

       60/25 – 61/12

       79/16 – 79/24

       80/7 – 80/11

       80/13 - 81/1

       85/16 – 85/23

       86/7 – 86/10

       87/1 – 88/8

       97/19

       97/22

       109/21 – 109/25

       113/19

       139/21 – 139/23

       180/22 – 180/24


                                       23
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                        DESIGNATIONS FOR ROBERT KEYS, CONT.

       182/9 – 182/10

       251/4 – 251/8

       310/12 – 311/17

       314/1 – 314/2

       316/24 – 317/25




                                        24
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                       DESIGNATIONS FOR MICHAEL KING

       18/13 – 18/15

       19/13 – 19/19

       20/11 – 21/2

       28/1 – 28/12




                                       25
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                         DESIGNATIONS FOR JOHN KNOWLES

       39/2 – 39/5

       199/14 – 199/24

       200/5 – 200/13

       206/18 – 207/9




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                                    13598


                       DESIGNATIONS FOR STEVEN LOVEGREN

       6/22 – 6/25

       7/23 – 8/20

       10/18 – 31/10

       31/16 – 33/3

       33/9 – 34/1

       34/9 – 36/2

       36/11 – 41/12

       41/19 – 42/23

       45/7 – 47/1

       47/12 – 49/19

       60/1 – 61/15




                                       27
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                                    13599


                       DESIGNATIONS FOR MINDI MORISHITA

       17/22 – 17/23

       19/6 – 19/8

       21/15 – 21/22

       22/23 – 23/2

       29/4 – 30/2

       32/19 – 33/24

       34/3 – 34/13

       37/21 – 38/3

       43/12 – 44/12

       49/3 – 49/17

       49/22 – 50/5

       53/1 – 53/25

       58/4 – 60/22

       65/5 – 65/16

       67/5 – 67/6

       67/9 – 70/14

       70/16 – 70/17

       70/20 – 70/25

       71/4 – 71/18




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                                    13600


                         DESIGNATIONS FOR TOBY NORTON

       24/9 – 24/18

       63/6 – 63-10

       63/15 -64/1

       75/18 – 75/23

       106/13 – 107/15

       117/2 – 117/12

       117/14

       174/15 – 175/3

       196/1 – 196/7

       196/16 -197/1

       197/10 – 197/13

       198/5 – 198/9

       200/13 – 200/16

       201/22 – 203/8

       206/18 – 207/17

       208/3 – 209/8

       209/17 – 209/21

       216/8 – 217/9

       217/18 – 218/11

       227/18 – 228/9

       228/12 – 228/15

       228/17 – 228/23

       229/15 – 230/1

       230/10 – 230/15


                                       29
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                         DESIGNATIONS FOR TOBY NORTON

       230/23

       231/6 – 232/2

       233/10 – 233/16

       233/19 – 234/8

       236/10 – 237/15

       240/1 – 240/4

       240/8 – 240/18

       241/13

       241/24 – 242/25




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                                    13602


                         DESIGNATIONS FOR SCOTT PLUMMER

       26/21 – 27/14

       29/6 – 29/13

       70/1 – 70/7

       72/18 – 73/1

       138/10 – 138/20

       182/13 – 182/19

       182/22 – 183/4

       195/21 – 196/1

       196/22 -197/11

       197/23 – 199/2

       199/8 -201/16

       215/9 – 215/16

       218/5 - 219/23




                                       31
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                                    13603


                         DESIGNATIONS FOR SHANE PLUMMER

       9/24 – 10/5

       13/1 – 13/7

       16/11 – 16/14

       21/9 – 21/18

       31/25 – 32/1

       61/2 – 61/4

       63/10 -63/20

       76/3 – 76/9

       87/6 -87/15

       112/20 – 112/22

       215/13 – 216/25

       218/9 – 218/21

       227/19 – 228/23

       232/6

       232/20 – 234/18

       236/6 – 239/16

       240/10 – 241/2

       241/10 – 241/23

       242/6 – 243/13

       243/22 – 244/15

       246/21 – 247/18

       249/8 – 250/13

       260/16 – 261/3

       261/19 – 262/4


                                       32
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                       DESIGNATIONS FOR SHANE PLUMMER, CONT.

       262/22 – 263/17

       279/3 – 280/7

       281/15 – 281/23

       282/16 – 283/1

       287/6 – 288/5

       310/1 – 310/8

       310/19 – 310/23

       311/11 – 311/24

       312/21 – 313/16

       315/5 – 317/2

       317/20 – 317/23

       318/7 – 318/18

       319/8 – 319/21

       320/9 – 321/3

       321/7 – 321/10

       321/24 – 322/19

       323/8 – 323/20

       338/4 – 343/6

       344/8 – 347/25

       357/8 – 357/22

       358/14 – 358/25

       373/10 -373/11

       412/25 -413/1

       414/16 -415/2


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                       DESIGNATIONS FOR SHANE PLUMMER, CONT.

       419/1 – 420/20

       424/5 – 425/14

       434/1 – 434/8

       434/19

       436/1 – 437/19

       441/23 – 442/24




                                        34
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                                    13606


                     DESIGNATIONS FOR SPENCER DAVID PLUMMER

       9/18 – 10/3

       24/9

       26/7 – 26/9

       26/12




                                       35
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                         DESIGNATIONS OF JAMES R. PORTER

       26/3 – 26/14

       43/10 – 43/18

       43/21

       44/1 – 44/10

       61/8 – 61/11

       61/19 – 61/24

       62/4 – 62/7

       63/9 – 64/14

       68/6 – 68/25

       69/2 – 69/4

       69/8 -69/17

       69/20 – 69/25

       70/2 – 70/9

       93/25 – 95/7

       95/10 – 95/25

       96/2 – 96/9

       96/13 – 96/15

       96/17 – 96/19

       101/11 – 101/16

       105/2 – 105/7

       105/9 – 105/10

       154/17 – 154/25

       155/2 – 155/13

       155/16 – 155/24


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                       DESIGNATIONS OF JAMES R. PORTER, CONT.

       161/18 – 161/25

       162/2 – 162/6

       163/22 – 163/25

       164/2 – 164/10

       164/12 – 164/13

       164/17 – 164/20

       182/3 – 182/10

       182/15 – 182/25

       183/2 – 183/25

       184/2 – 184/4

       270/4 – 270/18

       294/20 – 294/22

       295/2 – 295/4




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                       DESIGNATIONS FOR PATRICK RILEY

       9/7 – 9/15

       22/21 – 28/22

       47/12 – 50/7

       65/3 – 69/10

       71/11 – 72/14

       77/1 – 82/19

       83/9 – 84/9

       86/10 – 97/5




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                         DESIGNATIONS FOR CAROL SHRIVES

       12/16 – 12/20

       23/2 – 23/13

       25/18 – 25/25

       27/21 – 27/24

       28/8 – 29/5

       32/11 – 32/21

       107/7 – 107/8

       107/13 – 111/22

       119/5 – 119/9

       120/1 – 120/5

       164/21




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                         DESIGNATIONS FOR GARY THOMSON

       11/6 – 11/9

       20/15 – 20/16

       20/22 -20/24

       22/15 – 22/20

       23/13 – 23/15

       23/20 – 24/2

       26/6 – 26/9

       26/14 – 26/19

       30/7 – 30/14

       36/21 -37/11

       37/25 – 38/14

       147/10

       162/21 -162/22

       162/25 – 163/1

       163/4 – 163/12

       163/14 – 165/22

       170/17 – 170/22

       171/10 – 171/17

       172/9 – 172/12

       173/22 – 174/16

       174/19 – 175/7

       178/11 – 178/19

       183/22 – 184/3

       184/15 – 185/6


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                    DESIGNATIONS FOR GARY THOMSON, CONT.

       185/24 – 186/17

       186/22 – 187/2

       191/16 – 192/7

       192/20 -193/13

       194/8 – 194/11




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                        DESIGNATIONS FOR CHAD VANDERLINDEN

       23/6 – 23/15

       50/12 – 50/21

       51/20

       52/1 – 52/6

       56/12 – 56/25

       57/3 – 57/6

       57/9

       57/11 -57/12

       57/14 – 57/23

       58/6 -58/10

       59/23 – 60/11

       60/18 – 60/24

       61/5 – 61/9

       87/22

       88/1 – 88/2

       90/19 – 91/8

       91/18 – 92/20

       99/6 – 100/7

       100/12 – 100/18

       104/12 – 105/10

       106/1 – 106/21

       108/20 – 109/11

       110/10 – 110/16

       111/15 – 111/22


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                 DESIGNATIONS FOR CHAD VANDERLINDEN, CONT.

       117/5 – 117/9

       121/1 – 121/6

       121/8 – 121/14

       121/18 -122/6

       122/18 – 123/22

       124/15 – 125/11

       125/19 – 125/21

       126/3 – 126/16

       127/3 – 127/12

       133/23 – 123/25

       134/7 – 134/9

       134/13 – 134/16

       138/8 – 138/23

       139/17 – 140/5

       140/10 – 141/22

       142/1

       143/3 – 143/7

       144/25 – 145/7

       145/23 – 146/9

       146/22 – 146/25

       150/18 – 151/4

       159/15 – 160/15




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                                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document through the CM/ECF
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